      Case 3:12-cv-04411-EMC Document 109 Filed 08/14/18 Page 1 of 3



 1   [Counsel on Signature Page]

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                                   UNITED STATES DISTRICT COURT
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                              NORTHERN DISTRICT OF CALIFORNIA
12
                                       SAN FRANCISCO DIVISION
13
     CEPHEID,                                            CASE NO. 3:12-CV-04411-EMC
14
                          Plaintiff,                     RULE 41(a)(1)(A)(ii) STIPULATED
15                                                       DISMISSAL WITH PREJUDICE IN
                   v.                                    LIGHT OF SETTLEMENT
16
     ROCHE MOLECULAR SYSTEMS, INC. and
17   F. HOFFMANN-LA ROCHE LTD.,

18                        Defendants.

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     RULE 41(a)(1)(A)(ii) STIPULATED DISMISSAL WITH PREJUDICE
     CASE NO. 3:12-CV-04411-EMC
       Case 3:12-cv-04411-EMC Document 109 Filed 08/14/18 Page 2 of 3



 1          Pursuant to the parties’ settlement agreement, Plaintiff Cepheid and Defendants Roche

 2   Molecular Systems, Inc., and F. Hoffmann–La Roche Ltd., through their undersigned counsel of

 3   record, hereby stipulate to the dismissal with prejudice of the above-captioned action pursuant to

 4   Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure. Each party shall bear its own costs,

 5   expenses, and attorneys’ fees.

 6
     Dated: August 13, 2018                                FINNEGAN, HENDERSON, FARABOW,
 7                                                         GARRETT & DUNNER, LLP
 8                                                         /s/ Erik R. Puknys
                                                           Erik R. Puknys
 9                                                         Attorney for Plaintiff Cepheid
10
                                                           WILMER CUTLER PICKERING HALE AND
11                                                         DORR LLP
12                                                         /s/ Robert J. Gunther, Jr.
                                                           Robert J. Gunther, Jr.
13                                                         Attorney for Defendant F. Hoffmann-La Roche Ltd.
14
                                                           HUGHES HUBBARD & REED LLP
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                        ISTRIC
                    ES D
                                                           /s/ Stephen S. Rabinowitz
16                 T          TC                           Stephen S. Rabinowitz
                 TA                                        Attorney for Defendant Roche Molecular Systems,
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     RULE 41(a)(1)(A)(ii) STIPULATED DISMISSAL WITH PREJUDICE                                                1
     CASE NO. 3:12-CV-04411-EMC
       Case 3:12-cv-04411-EMC Document 109 Filed 08/14/18 Page 3 of 3



 1                                        ECF ATTESTATION

 2          I, Erik R. Puknys, am the ECF User whose ID and password are being used to file the

 3   following document: RULE 41(a)(1)(A)(ii) STIPULATED DISMISSAL WITH PREJUDICE IN

 4   LIGHT OF SETTLEMENT. In compliance with Civil L.R. 5-1(i)(3), I hereby attest that

 5   opposing counsel concurs in this filing.

 6
     Dated: August 13, 2018
 7
                                                  FINNEGAN, HENDERSON, FARABOW,
 8                                                GARRETT & DUNNER, LLP
 9
                                                  By: /s/ Erik R. Puknys
10                                                    Erik R. Puknys
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     RULE 41(a)(1)(A)(ii) STIPULATED DISMISSAL WITH PREJUDICE                                     1
     CASE NO. 3:12-CV-04411-EMC
